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NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                             Civ. No. 18-15099
            v.
                                                             ORDER
 SHANT HOVNANIAN et al.,

                     Defendants.

THOMPSON, U.S.D.J.

        For the reasons stated in this Court’s Opinion on this same day,

        IT IS, on this 29th day of March, 2022,

        ORDERED that the Motion for Default Judgment on Count IV and Partial Default

Judgment on Count V Against Defendants Shant Hovnanian (“Defendant Shant”) and Adelphia

Water Company, Inc., (“Adelphia”) filed by Plaintiff United States of America (the “United

States”) (ECF No. 96) is GRANTED; and it is further

        ORDERED that the Court declares that Adelphia is the nominee of Defendant Shant; and

it is further

        ORDERED that Defendant Shant and Adelphia shall be precluded from contesting the

attachment of the federal tax lien on the property known as 572 Wyckoff Mills Road, Howell

Township, New Jersey, or receiving proceeds from its sale.



                                                             /s/ Anne E. Thompson
                                                             ANNE E. THOMPSON, U.S.D.J.

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